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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF OKLAHOMA


Date: July 5, 2023

SHIRLEY ANTWINE, as administrator                )
for the Estate of Ernest Eugene Antwine,         )
                                                 )
                     Plaintiff,                  )
                                                 )
v.                                               )     Case No. CIV-23-00359-JD
                                                 )
ROBERT A. BURTON, individually;                  )
ROBERT DUNN, an individual; and                  )
JOHN/JANE DOES, individually, as yet             )
unidentified policy officers,                    )
                                                 )
                     Defendants.                 )


ENTER ORDER:

        The joint status report and discovery plan deadline of July 10, 2023, is hereby
STRICKEN to be reset, if necessary, after the Court’s ruling on Defendant Robert
Burton’s Motion to Dismiss Plaintiff’s Amended Complaint [Doc. No. 13], which was
filed after the Court’s Status/Scheduling Conference Docket [Doc. No. 11] and which is
not yet fully briefed.

ENTERED AT THE DIRECTION OF THE HONORABLE JODI W. DISHMAN.


                                           CARMELITA REEDER SHINN, CLERK


                                           By:   /s/Nyssa Vasquez
                                                    Deputy Clerk
